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 1                                                               HONORABLE RONALD B. LEIGHTON
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 6
                                 UNITED STATES DISTRICT COURT
 7                              WESTERN DISTRICT OF WASHINGTON
                                          AT TACOMA
 8
        United States of America,                                No. 12-cr-5039-RBL
 9
                                        Plaintiff,               ORDER ON MOTION FOR RECUSAL
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11
                v.                                               (Dkt. #198, 199)

12      Kenneth Wayne Leaming,

13                                      Defendant.

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            Defendant, recently convicted, has filed a “Notice to the Record and Notice of Duty to
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     Recuse,” which the Court will treat as a motion to recuse. Under 28 U.S.C. § 144 and 28 U.S.C.
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     § 455, recusal of a federal judge is appropriate if a reasonable person with knowledge of all the
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     facts would conclude that the judge’s impartiality might reasonably be questioned. Yagman v.
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     Republic Insurance, 987 F.2d 622, 626 (9th Cir. 1993). “In the absence of specific allegations of
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     personal bias, prejudice, or interest, neither prior adverse rulings of a judge nor his participation
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     in a related or prior proceeding is sufficient” to establish bias. Davis v. Fendler, 650 F.2d 1154,
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     1163 (9th Cir. 1981); see also Liteky v. United States, 510 U.S. 540, 555 (1994) (“judicial rulings
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     alone almost never constitute valid basis for a bias or partiality motion.”).
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            Defendant has provided no grounds for recusal. He states only that he has filed a
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     “Judicial Misconduct/Disability Complaint” against the undersigned with the Ninth Circuit and
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     believes that the filing itself “EVIDENCES the prejudice and BIAS of Leighton, and Leighton is
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     mandated to recuse himself for Bias and Prejudice.” A defendant’s filing of a document is not
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 1   evidence of bias. The motion is DENIED and the Clerk is directed to REFER the motion to the
 2   Chief Judge.
 3          Defendant has also filed a “Demand for Declaratory Judgment as to Adjudicative Facts.”
 4   Like many of Defendant’s previous filings, the document references “International Law
 5   Ordinances” from the internet and asks “[i]s there any FACT and LAW upon which the
 6   International Law Ordinance . . . is not binding on the above captioned tribunal and its officers?”
 7   Yes. It is not a law passed by Congress and signed by the President. Defendant’s filing goes on
 8   to ask similar vague questions about the Universal Declaration of Human Rights, the Declaration
 9   of Independence, and the U.S. Constitution. The answers to his question are as follows: the
10   Universal Declaration of Human Rights and the Declaration of Independence provide no binding
11   law; the Constitution does. To the extent that this document is meant as a motion, it is DENIED.
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13          Dated this 13th day of March 2013.
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                                           A
                                           RONALD B. LEIGHTON
                                           UNITED STATES DISTRICT JUDGE
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                                                  Order - 2
